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 15   AGENCY, INC.
 16
                               UNITED STATES DISTRICT COURT
 17
                          CENTRAL DISTRICT OF CALIFORNIA
 18

 19   ENTTECH MEDIA GROUP LLC,                   Case No. 2:20-cv-06298 JWH (Ex)
 20               Plaintiff,                     Hon. John W. Holcomb
 21   v.                                         DEFENDANTS’ JOINT
                                                 MEMORANDUM OF POINTS &
 22   OKULARITY, INC. et al.,                    AUTHORITIES RE ORDER TO
                                                 SHOW CAUSE FOR IMPOSITION
 23               Defendants.                    OF SANCTIONS
 24                                              Date:               December 11, 2020
                                                 Time:               9:00 a.m.
 25                                              Place:              By videoconference
 26                                              Compl. filed:       July 15, 2020
 27                                              No Trial Date Set
 28


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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Troubled by the failure of plaintiff ENTtech Media Group LLC and its counsel
  4   Robert Tauler and Tauler Smith LLP (“Tauler”) to respond to serious arguments
  5   raised in Defendants’1 Motion for Sanctions and explain the factual basis for its
  6   allegations, this Court ordered ENTtech to either (1) withdraw and dismiss the
  7   Second Amended Complaint (“SAC”), (2) file a Third Amended Complaint (“TAC”)
  8   that cures the offending allegations raised in the Motion, or (3) file a brief and
  9   declarations explaining why the Court should not issue sanctions. (ECF 54.) The
 10   Court provided those options so that ENTtech could have “one more chance to cure
 11   (or otherwise to address in a more robust manner) the apparent infirmities” raised by
 12   Defendants. (ECF 54.) ENTtech filed a TAC (ECF 57), along with a declaration
 13   (ECF 60), but the documents do not cure all the deficiencies raised in the Motion, nor
 14   do they demonstrate that Tauler had a factual basis for the allegations made in the
 15   SAC or in any other pleading.
 16         The TAC does not cure, but rather doubles down on, the most damaging of
 17   Tauler’s baseless allegations, and the one on which ENTtech’s entire complaint rises
 18   and falls: that Okularity submitted DMCA takedown notices without any analysis at
 19   all—and specifically without analysis of fair use. Tauler’s purported “cure” to this
 20   infirmity is two-fold: one, Tauler claims that during a July 14, 2020, phone call,
 21   Nicolini did not affirmatively state he did any analysis before sending the DMCA
 22   takedown notices, and two, “on information and belief,” that Nicolini’s declaration to
 23   the contrary—submitted under penalty of perjury—is “untruthful.” (TAC ¶ 15.)
 24   These additions do not demonstrate that Tauler has complied with Rule 11. In fact,
 25   they are a tacit admission of the opposite, showing that there is no factual basis for
 26
      1
        Okularity and Jon Nicolini (together “Okularity”) are the agents of Backgrid USA,
 27   Inc., Splash News and Picture Agency LLC, and Xposure Photo Agency Inc.
      (together the “Photo Agencies”). Though separately represented, Okularity and the
 28   Photo Agencies submit this brief jointly.
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  1   the allegation that fair use was not considered. At best, the TAC alleges only that fair
  2   use wasn’t discussed on a phone call and that Tauler doesn’t believe Nicolini’s
  3   statements under oath. That’s not a cure. If it were sufficient, Rule 11 would be a
  4   dead letter.
  5         While the TAC contains no facts supporting this allegation, Tauler was
  6   repeatedly given evidence that his allegations were baseless. An August letter from
  7   Defendants’ counsel—who are prohibited by ethics rules from misrepresenting
  8   facts2—informed Tauler that Okularity considered fair use before sending the DMCA
  9   takedown notices. (ECF 39-13.) A follow-up Local Rule 7-3 conference of counsel,
 10   before the Motion for Sanctions was filed, did the same. A declaration under oath
 11   informed them again. (ECF 39-7.) Yet Tauler still cannot provide an explanation,
 12   much less factual support, for its purported belief for the key allegation that Okularity
 13   did not consider fair use.3
 14         At the same time, the TAC admits that Okularity’s DMCA takedown notices
 15   contained fair-use analysis. (TAC ¶ 15.) Tauler attempts to explain this away by
 16   arguing for an unreasonable inference, alleging that since the DMCA takedowns
 17   contained “identical verbatim discussion” of infringement and fair use, then “no
 18   actual analysis was truly performed.” (TAC ¶ 15.) But this is not sufficient to satisfy
 19   Rule 11 either, especially in the face of an under-oath declaration to the contrary.
 20         The TAC also adds unsubstantiated (and legally incorrect) allegations in an
 21   attempt to bolster the claim that the DMCA takedown notices contained
 22   misrepresentations. Tauler now alleges that the DMCA takedown notices falsely
 23   certified that the Photo Agencies “possess exclusive rights, when they purposely do
 24   not know (because, they have not inquired) whether any such rights exist.” (TAC
 25   ¶ 40.) Yet ENTtech and Tauler have the copyright registrations—which are prima
 26   2
        Cal. R. Prof. Conduct 3.3(a)(1).
 27   3
        Tauler would have had another opportunity to hear why the SAC was frivolous but
      hung up on counsel during the meet and confer call after using the time to harass
 28   Defendants’ counsel. (Supp. Perkowski Decl., Ex. 1 [Oct. 27, 2020 letter].)
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  1   facie evidence of ownership—and their allegations that some of the Images were
  2   posted on Instagram and “widely” across the Internet (TAC ¶ 50) does not at all
  3   undermine the Photo Agencies’ rights to enforce. There is no meritorious legal theory
  4   that would support the idea that posting images on the Internet transfers exclusive
  5   rights or ownership, as such a transfer must be in writing and signed by the copyright
  6   holder to be enforceable. See 17 U.S.C. § 204(a). Tauler added this preposterous
  7   theory in the SAC, so it was not at issue in the Motion for Sanctions. But Defendants
  8   called out the frivolous theory in a motion to dismiss the SAC (ECF 55), so its lack of
  9   merit was no secret when Tauler filed the TAC. Nevertheless, Tauler re-stated it in
 10   the TAC anyway.
 11         Tauler and ENTtech have been given numerous opportunities to address the
 12   deficiencies in the successive complaints, yet they have failed to do so. The
 13   consequence of this intransigence is that Defendants have incurred tens of thousands
 14   of dollars and continue to incur fees in addressing these baseless claims. Sanctions
 15   should issue. The Court should strike the TAC, dismiss the claims with prejudice, and
 16   require Tauler and ENTtech to reimburse Defendants their costs and fees in
 17   defending this matter.
 18   II.   ARGUMENT
 19         A.     Tauler has not cured the Rule 11 problems with the TAC.
 20         Tauler and ENTtech did not have to file a TAC. Under the Court’s order,
 21   though, if they did so the TAC needed to “cure[] each of the allegedly offending
 22   allegations in the FAC that Defendants challenge in their Motion for Sanctions.”
 23   (ECF 54, at 5 (emphasis added).) They did not: the TAC continues to maintain
 24   baseless allegations.
 25                1.    The TAC still alleges that Okularity failed to analyze fair use.
 26         Tauler has now been informed no fewer than three times that Okularity
 27   considered fair use before sending DMCA takedown notices. Yet the TAC continues
 28   to allege the contrary, without evidentiary support and without inquiry.
                                                 3

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  1         Tauler was first informed that Okularity considered fair use when Nicolini
  2   stated as much in pre-filing telephonic conversations with Tauler. The TAC alleges
  3   that Nicolini did not discuss fair use on a July 14, 2020 telephone call. (TAC ¶ 15.)
  4   But even if true, that does not support an allegation that fair use was not considered
  5   before DMCA notices were sent. It also does not eliminate the possibility of other
  6   phone calls where fair use was discussed—which is in fact what happened. (Supp.
  7   Nicolini Decl. ¶ 3 [attached].) Tauler was next informed that Okularity considered
  8   fair use in counsel’s August 5, 2020 letter (ECF 39-13), and again in Nicolini’s
  9   declaration in support of the Motion for Sanctions (ECF 39-7).
 10         Nevertheless, the TAC continues to allege—without support—that Okularity
 11   did no analysis before sending the DMCA takedown notices. (TAC ¶¶ 15, 41, 53.)
 12   Tauler’s attempt to “cure” falls short: The TAC first alleges that fair use was not
 13   discussed on one specific phone call with Nicolini. That is both inadequate (as stated
 14   above)—since it doesn’t address Okularity’s actions before submitting DMCA
 15   takedown notices—and it’s insufficient to, in the Court’s words, “explain how [the]
 16   challenged allegation is supported by reasonable inquiry, particularly in view of the
 17   representations that Nicolini made to ENTtech.” (ECF 54, at 4 (emphasis added).)
 18   That is: Nicolini declared that he informed Tauler that he considered fair use in
 19   “discussions”—plural—with Tauler. (ECF 39-7.) The TAC merely alleges that fair
 20   use wasn’t discussed on one call.
 21         In addition, new allegations in the TAC undermine Tauler’s contention. The
 22   TAC alleges that the DMCA takedown notices contain analysis of fair use. (TAC
 23   ¶ 15.) The TAC further states that the analysis is “identical verbatim” language on
 24   each notice, asserting that this somehow shows that “no actual analysis was truly
 25   performed.” (TAC ¶ 15.) But that is only speculation without any factual support. It
 26   does not “cure” the deficiency.
 27         In short, Tauler has no factual basis to allege that Nicolini did not personally
 28   review each infringement before issuing DMCA takedown notices, including by
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  1   considering fair use.4 Despite lacking any good faith basis, Tauler still alleges the
  2   following in the TAC:
  3              “Okularity submits these notices without any of the analysis required by
  4                the DMCA, let alone any demand letter or even a warning to the alleged
  5                infringer.” (TAC ¶ 15.) Compare FAC ¶ 15 (“Okularity does this [sends
  6                DMCA takedown notices] without any of the investigation, warning, or
  7                legal analysis required by the DMCA …”).
  8              “Okularity’s new business model pre-empts such lawsuits by using
  9                DMCA Notices instead of demand letters. However, as alleged in
 10                Paragraphs 15 and 40 herein, Okularity does not engage in any analysis
 11                prior to filing DMCA take-down notices as it should.” (TAC ¶ 27.)
 12                Compare FAC ¶ 27 (“However, since the DMCA Notices are
 13                automatically generated and submitted without any attorney supervision,
 14                Okularity does not engage in any analysis prior to generating and filing
 15                DMCA takedown notices as it should.”).
 16              “Defendants [sic] misconduct includes its failure to take into
 17                consideration ‘fair use’ as a defense to their alleged claims.” (TAC
 18                ¶ 40.) Compare FAC ¶ 40 (“Defendants [sic] misconduct includes its
 19                failure to take into consideration ‘fair use’ as a defense to their alleged
 20                claims.”).
 21              “Not only did Defendants fail to consider ENTech’s fair use …” (TAC
 22                ¶ 41.) Compare FAC ¶ 41 (“Not only did Defendants fail to consider fair
 23                use …”).
 24              “When Okularity … submitted the DMCA notices to Instagram …
 25                Nicolini knew (and thus, Okularity and all of its principals also knew)
 26   4
        Fair use is not even a plausible argument for any of the unauthorized uses at issue
      here. The infringing images were posted on Instagram, in their entirety, with minimal
 27   commentary, lacking any sort of transformation, and directly competing with the
      licensees of the Photo Agencies. ENTtech has no non-frivolous basis to contend that
 28   fair use applies, which is why it has not alleged as much in any pleading.
                                                  5

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  1                that no ‘good faith’ basis existed for believing that Plaintiff’s uses of the
  2                images were unauthorized.” (TAC ¶ 51.) Compare FAC ¶ 51 (“When
  3                Okularity … submitted the DMCA notices to Instagram … Nicolini
  4                knew (and thus, Okularity and all of its principals also knew) that no
  5                ‘good faith’ basis existed for believing that Plaintiff’s uses of the images
  6                were unauthorized.”).
  7             “Rather, the Defendants all knew that the notices were based solely on
  8                the results of a software application created to scan the internet for
  9                copies of images in which copyrights had been claimed – without any
 10                inquiry (much less, a good faith inquiry) into whether the uses of those
 11                images were “authorized by the copyright owner, its agent, or the law.”
 12                (TAC ¶ 51.) Compare ¶ 51 (“Rather, the Defendants all knew that the
 13                notices were based solely on the results of a software application created
 14                to scan the internet for copies of images in which copyrights had been
 15                claimed – without any inquiry (much less, a good faith inquiry) into
 16                whether the uses of those images were “authorized by the copyright
 17                owner, its agent, or the law.”).
 18         The Court should sanction Tauler for asserting these baseless allegations in the
 19   FAC and maintaining them in the TAC.
 20                2.    The TAC still alleges that Defendants issued fraudulent
 21                      DMCA notices.
 22         Piggybacking off the unsupported allegations that Okularity did not consider
 23   fair use before sending DMCA takedown notices, the TAC continues to allege that
 24   the notices were “fraudulent” and were part of Defendants’ “scheme” to defraud.
 25   Since the allegations that fair use was not considered lack evidentiary support, there
 26   is no evidentiary support for allegations that the DMCA notices were fraudulent or
 27   that Defendants engaged in a scheme. Yet Tauler still alleges as follows:
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  1             “Defendants (1) are engaged in a scheme to deprive Plaintiff of its
  2               digital assets through a pattern of fraudulent statements made in DMCA
  3               Notices …” (TAC ¶ 18.) Compare FAC ¶ 18 (“Defendants (1) are
  4               engaged in a scheme to deprive Plaintiff of its digital assets through a
  5               pattern of fraudulent statements made in DMCA Notices …”).
  6             “Okularity sent fraudulent notices to Instagram …” (TAC ¶ 50.)
  7               Compare FAC ¶ 50 (“Okularity sent fraudulent notices to
  8               Instagram …”).
  9         The Court should sanction Tauler for asserting these baseless allegations in the
 10   FAC and maintaining them in the TAC.
 11               3.     The TAC still alleges that Defendants sent 48 DMCA notices.
 12         There is no evidentiary support for the allegations that Okularity sent 48
 13   DMCA takedown notices. Nicolini’s declaration states that there were only 35;
 14   Tauler knows the true number, as he filed precisely the same number of counter-
 15   notifications to Instagram. Nevertheless, Tauler maintains the allegations concerning
 16   48 DMCA takedown notices—“or more,” as the TAC now alleges—with some
 17   window dressing that doesn’t cure the deficiency:
 18             “It was only after Okularity filed at least thirty-four (34) or thirty-five
 19               (35) DMCA take-down notices against Paper (and possibly as many as
 20               forty-eight (48) such notices, or more) that Instagram disabled Paper’s
 21               account.” (TAC ¶ xx.) Compare FAC ¶ 29 (“It was only after Okularity
 22               filed forty-eight (48) DMCA take-down notices against Paper that
 23               Instagram disabled Paper’s account.”).
 24             “On at least 34 or 35 instances in 2019 and 2020 (and possibly as many
 25               as forty-eight (48) instances, or more) Defendants willfully, knowingly
 26               and materially made third-party §512(f) misrepresentations to Instagram
 27               stating that Plaintiff’s images, some over three years old, were infringing
 28               intellectual property rights owned by one of the Clearinghouse
                                                 7

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  1                Defendants.” (TAC ¶ 37.) Compare FAC ¶ 37 (“On at least 48 instances
  2                in 2019 and 2020 Defendants willfully, knowingly and materially made
  3                third-party §512(f) misrepresentations to Instagram stating that
  4                Plaintiff’s images, some over three years old, were infringing intellectual
  5                property rights owned by one of the Clearinghouse Defendants.”).
  6         Tauler’s stubborn refusal to eliminate these baseless allegations, in the face of
  7   contrary evidence and without evidentiary support for them, is deserving of
  8   sanctions.
  9                4.    The TAC still alleges that the Photo Agencies filed a separate
 10                      lawsuit for improper purposes.
 11         Tauler alleged that when the Agency Defendants filed their lawsuit against
 12   ENTtech that they did so “purposely without regard to the truth or falsity of the
 13   allegation that any of Plaintiff’s uses of the photographs was prohibited by law.”
 14   (TAC ¶ 53; FAC ¶ 53.) There is no factual support for these allegations. As discussed
 15   above, the infringements were not fair use and there was no other justification for
 16   ENTtech using the Agency’s photographs without authorization (and the TAC alleges
 17   no such reason). These allegations continue to be sanctionable.
 18         Tauler attempts to support these allegations by making legally baseless
 19   assertions about the Photo Agencies’ right to enforce its copyrights in the Images.
 20   Those assertions fail, and are independently sanctionable, as discussed below.
 21         B.     The TAC contains new baseless allegations that are sanctionable.
 22         Remarkably, the TAC includes newly sanctionable allegations and legal
 23   argument. The Court should sanction these new allegations under its inherent power,
 24   especially because ENTtech was on notice that its legal theory is both frivolous and
 25   factually deficient. (See Motion to Dismiss SAC, ECF 55.)
 26         The new allegations concern the Photo Agencies’ right to enforce their
 27   copyrights in the Images, and relatedly the objective baselessness of the Photo
 28   Agencies’ claims of copyright infringement. Specifically, ENTtech alleges that
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  1   Defendants do not have exclusive rights in the Images because some (though not all)
  2   of the Images were posted on Instagram and “widely” across the Internet. (TAC ¶ 50;
  3   see also TAC ¶ 15, ¶ 40 (Defendants’ “misconduct also includes falsely certifying in
  4   DMCA notices that the [Photo Agencies] possess exclusive rights, when they
  5   purposely do not know (because, they have not inquired) whether any such rights
  6   exist.”); ¶ 51 (DMCA notices were fraudulent “because nobody made any inquiry to
  7   determine whether [the Photo Agencies] owned any ‘exclusive rights[s]’”).) But these
  8   allegations are both factually and legally unsupported: there are no facts alleged that
  9   would, if accepted as true, cast doubt on the Photo Agencies’ copyright ownership;
 10   and even if Images were posted on Instagram and “widely” across the Internet, that
 11   alone does not undermine the Photo Agencies’ copyright infringement claims against
 12   ENTtech.
 13         This new theory—that somehow the Photo Agencies’ right to enforce their
 14   copyrights is in question—has no factual support.5 At most, ENTtech alleges that
 15   some (not all) of the images were posted on Instagram and “widely” across the
 16   Internet. (TAC ¶ 50.) But even accepting such allegations as true, the result does not
 17   follow: neither posting to Instagram nor to the Internet gives ENTtech, or anyone, the
 18   right to reproduce or distribute copyrighted images without license or authorization.
 19   The suggestion is preposterous, baseless, and sanctionable.6 ENTtech’s ultimate
 20   allegation—that the Photo Agencies lacked exclusive rights (TAC ¶ 50)—is not just a
 21   bare conclusion without underlying factual support, but it is contrary to law: any
 22   transfer of copyright ownership or exclusive rights must be in writing. See Foad
 23
      5
 24     ENTtech also claims that AKM-GSI is an owner of certain photographs, but as
      alleged in the Photo Agencies’ counterclaim certain photographs were transferred to
 25   Backgrid USA, Inc., who is the owner. (ECF 53.)
      6
        It is true that a post on Instagram gives Instagram a license (though ENTtech cites
 26   no policy or term of use). But Instagram’s license is not an exclusive license, nor is it
      accompanied by a right for third parties—other than Instagram—to use an image in a
 27   post. See Sinclair v. Ziff Davis, LLC, No. 18-cv-790 (KMW), 2020 WL 3450136,
      at *1-2 (S.D.N.Y. June 24, 2020) (Instagram’s policies “are insufficiently clear” to
 28   conclude that its users are automatically granted a sublicense to use content).
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  1   Consulting Group, Inc. v. Azzalino, 270 F.3d 821, 825 (9th Cir. 2001) (transfer of any
  2   of the exclusive rights of copyrights must be in writing); 17 U.S.C. § 204(a) (“A
  3   transfer of copyright ownership” is not valid unless in writing signed by owner of the
  4   rights conveyed.). The TAC pleads no such writing. Moreover, ENTtech and Tauler
  5   have seen the copyright registrations covering each of the photographs ENTtech is
  6   alleged to have infringed, and ENTtech had them before filing both the SAC and the
  7   TAC. See BackGrid USA, Inc. v. ENTtech, No. 2:20-cv-6803 RSWL (attachments to
  8   Complaint (ECF 1) and First Am. Complaint (ECF 22)); see also ECF 53 (Photo
  9   Agencies’ counterclaims in this action). These registrations are prima facie evidence
 10   of the Photo Agencies’ ownership of the photographs at issue. Accordingly, these
 11   new allegations are entirely meritless.
 12         Tauler also alleges that the Photo Agencies have denied the allegation that
 13   Okularity was their agent. Tauler points to Docket No. 46, ¶ 51 and compares it with
 14   Docket 53, ¶ 51. But Tauler is simply wrong. Docket No. 46, states as follows:
 15                Those DMCA notices were fraudulent because they each
                   contained “[a] statement that the complaining party has a good
 16                faith belief that use of the material in the manner complained of
                   is not authorized by the copyright owner, its agent, or the law.”
 17                Plaintiff does not actually know with certainty whether all of the
                   notices contained this statement – because, Defendants have
 18                disregarded its requests to see copies of the notices – but such a
                   statement is required by § 512(c)(3)(A)(v) of the DMCA, which
 19                makes it highly likely that each of the notices did contain exactly
                   this statement. Defendants knew that this statement was false
 20                (which is, in fact, the reason why they are concealing their
                   DMCA notices from Plaintiff). When Okularity (acting through
 21                Nicolini), submitted the DMCA notices to Instagram (on behalf
                   of their principals, the Clearinghouse Defendants Backgrid,
 22                Splash, and Xposure), Nicolini knew (and thus, Okularity and all
                   of its principals also knew) that no “good faith” basis existed for
 23                believing that Plaintiff’s uses of the images were unauthorized.
                   Rather, the Defendants all knew that the notices were based
 24                solely on the results of a software application created to scan the
                   internet for copies of images in which copyrights had been
 25                claimed – without any inquiry (much less, a good faith inquiry)
                   into whether the uses of those images were “authorized by the
 26                copyright owner, its agent, or the law.” See generally Lenz v.
                   Universal Music Corp., 815 F.3d 1145, 1151-56 (9th Cir. 2016).
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  1   Defendants denied those allegations. That denial does not support the allegation that
  2   “Splash and Xposure have recently denied the allegation that Okularity was acting on
  3   their behalf,” as ENTtech claims it does. (TAC ¶ 41.) In fact, the Photo Agencies’
  4   answer clearly admits that Okularity acted as Defendants’ copyright agent. (ECF 53,
  5   ¶ 49 (“The Photo Agencies admit that Okularity was designated as a ‘copyright
  6   agent,’ but denies the remaining allegations in this Paragraph 49.”).)
  7         Tauler also includes settlement conversations protected under Rule 408 of the
  8   Federal Rules of Evidence, and under the litigation privilege, in the allegations
  9   supporting liability for ENTtech’s RICO claim. These settlement conversations
 10   occurred after this lawsuit was filed. The executive at BackGrid who made a
 11   settlement offer did so after having friendly and seemingly productive calls with
 12   ENTtech’s CEO. (Ginsburg Decl. ¶ 3.) Defendants wanted to have a businessperson-
 13   to-businessperson settlement dialog because of their concerns that Tauler was not
 14   communicating settlement discussions with this client earlier in this litigation and
 15   was driving this litigation to be more expensive for both parties, and therefore, less
 16   likely to settle.7 (Ginsburg Decl. ¶¶ 2-3.) During those calls ENTtech’s CEO told
 17   BackGrid’s executive that he wished they had this conversation sooner, implying that
 18   this litigation could have been avoided had they just picked up the phone before it
 19   was filed. (Id.) He also asked BackGrid for a settlement “number.” BackGrid’s
 20   executive communicated a demand to ENTtech’s CEO on behalf of all Photo
 21   Agencies. (Ginsburg Decl. ¶ 5.) Tauler understood that this discussion was for the
 22   purposes of settlement as he sent email message to counsel regarding the same.
 23

 24   7
        Earlier in the litigation, Defendants explained by phone to Tauler that the 512(f) and
 25   RICO claims were sanctionable. Defendants explained that a “graceful” way to avoid
      motion practice on these claims would be for ENTtech to drop its claims, stipulate to
 26   copyright liability, and go to arbitration for a monetary award, which would save
      everyone costs and fees and—as seemed very important to ENTtech at the time—
 27   allow ENTtech to get its Instagram account back up without delay. Tauler rejected
      this proposal immediately after it was proposed during the phone call. In other words,
 28   there was no opportunity for Tauler to have conferred with his client. (Supp. Ardalan
      Decl. ¶ 2.)                                  11

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  1   (Afrasiabi Decl. Ex. A, Quinto Decl., Ex. A.) Now that settlement discussion is being
  2   improperly used to support a RICO claim.8
  3         By attempting to bolster their allegations of fraud and misrepresentation with
  4   these new theories and misrepresentations, ENTtech and Tauler have added fuel to
  5   the fire even apart from the Rule 11 arguments Defendants have already advanced.
  6   These new allegations are both factually groundless and legally meritless.
  7         C.     Through the TAC, Tauler tacitly admits that the prior pleadings are
  8                sanctionable.
  9         In the TAC, Tauler reverses itself by eliminating allegations, contained in three
 10   prior iterations of the complaint, that Okularity automatically submits DMCA
 11   takedown notices. There is no evidentiary support for those prior allegations, which
 12   merit sanctions.
 13         The SAC alleged that “Okularity automatically generates and submits DMCA
 14   Notices to any social media platform, including Instagram, containing an image in
 15   Okularity’s database. (ECF 60-1 [SAC-TAC redline] ¶ 15.) The TAC removes the
 16   language “and submits.” (Id.) Though this amendment cures this allegation, it does
 17   not relieve Tauler of its prior sanctionable conduct in making these allegations to
 18   begin with. Specifically, Tauler made the baseless “automatically generates and
 19   submits” allegations three times without having evidentiary support for it.
 20         The “automatically generates and submits” allegation appears in the initial
 21   Complaint (ECF 1 ¶ 15), but the TAC shows that Tauler had no basis for making the
 22   statement at that time. Namely, the TAC alleges that during a July 2020 phone call
 23   Nicolini stated “that Okularity uses automated software to generate DMCA notices.”
 24   (TAC ¶ 15.) Even accepting as true that Nicolini made such a statement, it does not
 25   support an allegation that Okularity uses automated software to submit DMCA
 26

 27   8
       Defendants also had to endure a meet and confer because Tauler wanted to move to
      amend the complaint to add Peter Perkowski and Steve Ginsburg, BackGrid’s
 28   executive, to the RICO claim. (Supp. Perkowski Decl. ¶ 3; Supp. Ardalan Decl. ¶ 3.)
                                                 12

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  1   notices. The “automatically generates and submits” allegation in the initial Complaint
  2   lacked evidentiary support.
  3         The “automatically generates and submits” allegation also appears in the FAC,
  4   but by then Tauler was on notice that it was false. That’s because on August 5, after
  5   the initial Complaint was filed, Defendants’ counsel sent correspondence informing
  6   Tauler that “Mr. Nicolini personally reviewed each DMCA notice before it was sent,
  7   and that Mr. Nicolini considered fair use before sending the DMCA notices.”
  8   (ECF 39-13.) The letter specifically called out the “allegation that ‘Okularity
  9   [automatically generates and submits DMCA notices] without any of the
 10   investigation, warning, or legal analysis required by the DMCA’ (Compl. ¶ 15)’ [as]
 11   a particularly egregious example of such a misrepresentation.” (Id. n.3.) Despite these
 12   factual statements from counsel—which were ethically bound not to contain
 13   misrepresentations—Tauler filed that FAC with the same “automatically generates
 14   and submits” allegation. (ECF 23 ¶ 15.) At the time of this filing, that allegation
 15   lacked evidentiary support and Tauler was aware of it.
 16         The “automatically generates and submits” allegation also appears in the SAC,
 17   but by then Tauler had Nicolini’s declaration, which was signed under penalty of
 18   perjury. In the declaration, Nicolini stated: “I personally caused the sending of 35
 19   DMCA notices to Instagram …,” “I personally reviewed each infringement prior to
 20   issuing the corresponding takedown notices to Instagram,” and “[n]one of the 35
 21   DMCA takedown notices at issue here were sent to Instagram by a fully automated
 22   system.” (ECF 39-7 ¶¶ 5, 6.) Nicolini also declared that he spoke to Tauler and told
 23   him “that I personally reviewed each infringement for fair use prior to issuing a
 24   DMCA takedown notice and further that the takedown notices were not issued by an
 25   automated process.” (ECF 39-7 ¶ 7.) Despite these statements in the declaration
 26   under oath, Tauler filed that SAC with the same “automatically generates and
 27   submits” allegation. (ECF 46 ¶ 15.) At the time, that allegation lacked evidentiary
 28   support and Tauler knew it.
                                                 13

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  1         The TAC may have cured part of one of the offending allegations raised in the
  2   Motion for Sanctions (namely, that Okularity automatically submitted DMCA
  3   takedown notices). But it serves only to conclusively show that Tauler should be
  4   sanctioned for the three times it made that allegation without evidentiary support.
  5         D.     The conduct calls for the imposition of sanctions as it is unfair for
  6                Defendants to incur the costs associated with four baseless
  7                complaints.
  8         There is no doubt that numerous “factual contentions” in the FAC (as well as
  9   the initial Complaint, the SAC, and the TAC) do not “have evidentiary support or …
 10   [would] likely have evidentiary support after a reasonable opportunity for further
 11   investigation or discovery.” Fed. R. Civ. P. 11(b)(3). Given the dearth of evidentiary
 12   support, the repeated warnings, notice and information provided to Tauler, and the
 13   willful ignorance of those warnings, notices and information, the pleadings are
 14   wholly frivolous, and the conclusion must be that they were designed for an improper
 15   purpose. “The central purpose of Rule 11 is to deter baseless filings.” Cooter & Gell
 16   v. Hartmarx, 496 U.S. 384, 393 (1990). Sanctions are appropriate—indeed, “must be
 17   imposed”—when the paper is either frivolous or filed for an improper purpose.
 18   Townsend v. Holman Consulting Corp., 929 F.2d 1358, 1362 (9th Cir. 1990).
 19   “Frivolous” means “a filing that is both baseless and made without a reasonable and
 20   competent inquiry,” whether partially or in the entirety. Id. at 1358, 1364-65. The
 21   standard is one of objective reasonableness. See Altmann v. Homestead Mortg.
 22   Income Fund, 887 F. Supp. 2d 939, 955 (E.D. Cal. 2012). Tauler has had four
 23   opportunities to file a pleading supported by evidence and reasonable inquiry. Tauler
 24   and ENTech have not and cannot meet this basic standard.
 25         The Court may impose both monetary and non-monetary sanctions for the
 26   violations of Rule 11. See Fed R. Civ. P. 11(c)(2); Truesdell v. S. Cal. Permanente
 27   Med. Grp., 209 F.R.D. 169, 175 (C.D. Cal. 2002). The Court should impose sanctions
 28   sufficient “to deter repetition of such conduct or comparable conduct by others
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  1   similarly situated.” Fed. R. Civ. P. 11(c)(4). Rule 11 requires that counsel have in
  2   hand sufficient credible information (as opposed to speculation) to enable an
  3   objectively reasonable attorney to form the belief that the allegations to which he put
  4   his name are supported by evidence. Tauler here did not, and he has not since the
  5   beginning. Because Tauler continues to file complaints with factual contentions for
  6   which there is no evidentiary support and for which he has not performed reasonable
  7   inquiry, the Court should sanction both Robert Tauler and Tauler Smith LLP. See
  8   Fed. R Civ. P. 11(c)(1) (providing court may impose sanctions “on any attorney, law
  9   firm, or party that violated the rule or is responsible for the violation” and that
 10   “[a]bsent exceptional circumstances, a law firm must be held jointly responsible for a
 11   violation committed by its partner, associate, or employee”). The sanctions should
 12   include striking the TAC and dismissing ENTtech’s claims in their entirety, with
 13   prejudice. In addition, because the sanctionable conduct has been long-standing and
 14   repeated, despite notice, monetary sanctions should be imposed to reimburse
 15   Defendants for their costs and attorney fees in defending against the baseless
 16   allegations.
 17   III.   CONCLUSION
 18          From inception, ENTtech’s claims have been grounded in the assertion that
 19   Defendants’ DMCA takedown notices contained misrepresentations.
 20   Misrepresentations as to a good faith belief regarding infringement were based on the
 21   alleged failure to consider fair use—first, because the takedown notices were
 22   submitted using automated systems, without review, and then because the takedown
 23   notices were submitted without any analysis of fair use. New allegations contend that
 24   the DMCA takedown notices contain misrepresentations concerning the “exclusive
 25   rights” of Defendants to enforce copyrights in the Images. None of these assertions
 26   have a basis in fact. The Court invited ENTtech and Tauler to cure the deficiencies,
 27   but the cure was nothing more than allegations attempting, but failing, to justify the
 28
                                                  15

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  1   sanctionable conduct. It didn’t work. The Court should grant the motion and impose
  2   sanctions as requested.
  3

  4   Dated: November 20, 2020      Respectfully submitted,
  5                                 PERKOWSKI LEGAL, PC
  6                                 By:    /s/ Peter Perkowski
  7                                       Peter E. Perkowski
  8                                       Attorneys for Defendants
                                          Okularity, Inc. and Jon Nicolini
  9

 10
      Dated: November 20, 2020      ONE LLP
 11

 12
                                    By:     /s/ Joanna Ardalan
 13                                       David Quinto
                                          Peter Afrasiabi
 14                                       Joanna Ardalan
 15                                       Attorneys for Defendants BackGrid USA, Inc.,
                                          Splash News and Picture Agency, LLC, and
 16                                       Xposure Photo Agency, Inc.
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